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                                    6
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                                        DAVIN LAGARDE GREEN
                                    8

                                    9                         UNITED STATES DISTRICT COURT
                                   10        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                   11

                                   12
                                        PHILLIP LUNN, an individual;              ) Case No.: 2:21-cv-00872
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                   13   CHIE LUNN, an individual; and             )
                                        DAVIN LAGARDE GREEN, an                   ) COMPLAINT FOR:
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                                   14   individual,                               )
                                   15                                             ) DEMAND FOR JURY TRIAL
                                                     Plaintiffs,                  )
                                   16                                             )   1. Negligence
                                              vs.                                 )   2. Public Nuisance
                                   17                                             )   3. Private Nuisance
                                   18
                                        CITY OF LOS ANGELES, a                    )   4. Inverse Condemnation
                                        governmental entity,                      )   5. Violation of First Amendment
                                   19                                             )   6. Violation of Due Process and
                                                     Defendant.                   )       Equal Protection
                                   20                                             )   7. Uncompensated Taking
                                   21

                                   22

                                   23
                                              Plaintiffs Phillip Lunn, Chie Lunn and Davin LaGarde Green (collectively

                                   24   “Plaintiffs”) hereby allege as follows:
                                   25
                                                                          Nature of Action
                                   26

                                   27         1.     This action is substantially related to the facts, claims and defenses

                                   28   asserted in LA Alliance for Human Rights v. City of Los Angeles, Case No. 2:20-cv-

                                                                           COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 2 of 13 Page ID #:2



                                    1
                                        02291 (the “LA Alliance Action”) now pending before this Court. The LA Alliance

                                    2   Action pertains to a failure within Los Angeles County and City of Los Angeles to
                                    3
                                        adequately address and protect the homeless population and to ensure that taxpayer
                                    4

                                    5   funds are spent adequately.

                                    6          2.     This action presents a microcosm of the larger problems pled in the
                                    7
                                        LA Alliance Action. Two of the plaintiffs own a home next to an area that the City
                                    8

                                    9   has neglected and allowed the homeless to erect tent cities and Recreational Vehicle

                                   10   (“RV”) parking areas. The same problems caused on a County and City wide scale
                                   11
                                        alleged in the LA Alliance Action, are presented in the Venice neighborhood at
                                   12
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 Rolling Hills Estates, CA 90274




                                   13   issue in this case.
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                                   14                         PARTIES, JURISDICTION AND VENUE
                                   15
                                               3.     Plaintiffs Phillip and Chie Lunn are residents of the Defendant City of
                                   16

                                   17   Los Angeles (“City”).
                                   18          4.     Plaintiff Davin LaGarde Green is a resident of the State of Missouri.
                                   19
                                               5.     Defendant City is a political subdivision of the State of California,
                                   20

                                   21   with the capacity to sue and be sued. The departments of the City include the Los
                                   22   Angeles Department of Public Works with its various sub-departments including
                                   23
                                        the Los Angeles Department of Sanitation (LASAN), and the Los Angeles Police
                                   24

                                   25   Department (LAPD).
                                   26          6.     This action is brought pursuant to the First, Fifth, and Fourteenth
                                   27
                                        Amendments of the United States Constitution. This Court has jurisdiction pursuant
                                   28
                                                                               -2-
                                                                            COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 3 of 13 Page ID #:3



                                    1
                                        to 28 U.S.C. §§ 1331, 1343, and 1367.

                                    2         7.       This court has supplemental jurisdiction over Plaintiffs’ state law
                                    3
                                        claims pursuant to 28 U.S.C. § 1367, as it arises from the same case or controversy
                                    4

                                    5   as Plaintiffs’ federal claims.

                                    6         8.       All of the actions and omissions complained of occurred in the Central
                                    7
                                        District of California. Therefore, venue is proper in this District. 28 U.S.C. § 1331.
                                    8

                                    9         9.       The claims below arise under 42 U.S.C. § 1983 in relation to

                                   10   Defendants’ deprivation of Plaintiffs’ rights as secured by the U.S. Constitution and
                                   11
                                        federal law.
                                   12
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                                   13                               GENERAL ALLEGATIONS
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                                   14         8.       To the extent that the claims herein seek equitable and injunctive relief
                                   15
                                        only, no pre-filing claim was necessary prior to filing this suit. To the extent that
                                   16

                                   17   damages are sought herein, a Government Code claim was presented by Plaintiffs
                                   18   to the City on May 22, 2020. The City never responded to the claim.
                                   19
                                              9.       Each paragraph of this Complaint is expressly incorporated into each
                                   20

                                   21   claim for relief set forth below.
                                   22         10.      Since 2009, the Lunns have resided at 1026 Rose Avenue across the
                                   23
                                        street from the South Side of Penmar Golf Course along Rose Avenue in Venice
                                   24

                                   25   (the “Rose-Penmar Walkway.”) At the time of their purchase, there were no tents,
                                   26   no RV’s and no other obstructions to their beautiful clear view of the golf course.
                                   27
                                        The Lunns paid a premium value for that view. Prior to November 2019, Mr. and
                                   28
                                                                                -3-
                                                                             COMPLAINT
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                                    1
                                        Mrs. Lunn and their neighbors enjoyed both the unobstructed view and the use of

                                    2   the walkway as a jogging and walking trail.
                                    3
                                              11.    Since November 2019, the Rose-Penmar Walkway has been used as a
                                    4

                                    5   homeless camp that has been ignored by the City. A tent city has been erected on

                                    6   the strip of land and there is presently a health and safety risk created due to the
                                    7
                                        lack of bathrooms, risk of COVID-19 spread, violence, noise and risk of fires. The
                                    8

                                    9   situation constitutes a nuisance and puts the residents’ health, including the

                                   10   homeless, in jeopardy. Although the homeless camp was partially abated by the
                                   11
                                        City in late 2020, the duration of the City’s planned abatement is unknown.
                                   12
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                                   13   Moreover, a number of RVs have been allowed to remain parked and used by the
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                                   14   homeless adjacent to nearby Penmar Park.
                                   15
                                              12.    The Lunns’ property is located approximately 240 yards from the
                                   16

                                   17   parked RVs. As of the filing of this complaint, the Lunns estimate that in the time
                                   18   period November 2020 to the present, between 20 and 30 RVs are allowed by the
                                   19
                                        City to be parked as a homeless shelter.
                                   20

                                   21         13.    The City is indifferent to the risks created by these RVs. Within the
                                   22   last six months at least three dangerous fires have been caused by the RVs yet the
                                   23
                                        City allows them to remain. The City is indifferent to the risks of homeowners,
                                   24

                                   25   such as the Lunns, near the RV encampment. One RV fire occurred on September
                                   26   17, 2020 across from Penmar Park. A second RV fire occurred on January 3, 2021
                                   27
                                        across from Penmar Park. A third RV fire occurred on January 19, 2021 on the
                                   28
                                                                               -4-
                                                                            COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 5 of 13 Page ID #:5



                                    1
                                        South side of Rose adjacent to Penmar Park. As of the filing of this complaint, there

                                    2   are two burned out shells of RVs on Rose Avenue that have not been removed.
                                    3
                                               14.    The City is also treating the homeless and property owners adjacent to
                                    4

                                    5   the Rose-Penmar Walkway in an arbitrary fashion. For example, on or around April

                                    6   10, 2020, Plaintiff Davin Green accepted ownership of a large blue cargo container
                                    7
                                        (the “Container”) that had been placed at the Rose-Penmar Walkway.
                                    8

                                    9          15.    On April 25, 2020, a notice was placed on the Container announcing

                                   10   that the Container was Ms. Green’s private property. At that time, Ms. Green did
                                   11
                                        not have a home to live in nor the means to move the Container.
                                   12
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                                   13          16.    On April 30, 2020, the City removed the Container and left a notice
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                                   14   indicating that Ms. Green could reclaim it from the City. That notice was
                                   15
                                        inadequate because Ms. Green did not have the funds to retrieve the Container from
                                   16

                                   17   where the City had relocated it. The City employed the Fire Department to break a
                                   18   lock securing Ms. Green’s container. Ms. Green observes that while her property
                                   19
                                        was seized, the tents used by the homeless were left intact. The RVs used by the
                                   20

                                   21   homeless in the area have also been left intact. Burned out shells of RVs are left on
                                   22   the street.
                                   23
                                               17.    The City routinely tickets cars owned by property owners but does not
                                   24

                                   25   ticket or otherwise enforce parking restrictions on RVs parked near Penmar Park.
                                   26   The Lunns have frequently received tickets.
                                   27

                                   28
                                                                              -5-
                                                                           COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 6 of 13 Page ID #:6



                                    1
                                               18.    The City’s selective enforcement of removal procedures against Ms.

                                    2   Green is arbitrary and violates her right to equal treatment under the law.
                                    3
                                               19.    The Container had the words: “Monument to Absurdity, 56:11”
                                    4

                                    5   written on its side. This was a political protest regarding the City’s absurd and

                                    6   selective enforcement of Municipal Code section 56.11 – the law pertaining to
                                    7
                                        storage of personal property in public spaces. Ms. Green is informed, believes and
                                    8

                                    9   thereon alleges that the removal of the Container was intended and did in fact chill

                                   10   her expression of political speech pertaining to the City’s homeless policing
                                   11
                                        practices.
                                   12
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                                   13                              FIRST CLAIM FOR RELIEF
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                                   14                       (For Negligence asserted by the Lunns only)
                                   15
                                               1.     Plaintiffs re-allege and incorporate herein by this reference each and
                                   16

                                   17   every allegation set forth in paragraphs 1 through 19 of this Complaint as though
                                   18   set forth fully herein.
                                   19
                                               2.     The City, by and through its agents and employees, have sole right and
                                   20

                                   21   responsibility to control, maintain, and keep safe and clean the public and public-
                                   22   right-of-way areas in the City including parks, sidewalks, streets, public buildings,
                                   23
                                        and certain undeveloped areas such as alongside freeways and other transportation
                                   24

                                   25   routes, and to make and enforce laws assuring the public health and safety thereof
                                   26   for its citizens and their guests. Among other things, the City has the duty to
                                   27
                                        maintain these areas in a manner which does not unreasonably interfere with the
                                   28
                                                                               -6-
                                                                            COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 7 of 13 Page ID #:7



                                    1
                                        free passage or use by plaintiffs, and which addresses and alleviates conditions

                                    2   which are harmful to health, or indecent or offensive to the senses, and which create
                                    3
                                        a fire hazard or permit crime to occur unabated including the illegal sale of
                                    4

                                    5   controlled substances.

                                    6         3.     The public is entitled to the free and unobstructed use of entire streets
                                    7
                                        and sidewalks. Indeed, municipalities have the duty to keep their communities’
                                    8

                                    9   streets open and available for movement of people and property.

                                   10         4.     In 2016, the City sponsored and supported a ballot measure which
                                   11
                                        promised to “provide safe, clean affordable housing for the homeless, and … to
                                   12
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                                   13   provide facilities to increase access to mental health care, drug, and alcohol
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                                   14   treatment and other services” if its citizens authorized the issuance of
                                   15
                                        $1,200,000,000 in general obligation bonds for that purpose. Proposition HHH
                                   16

                                   17   passed overwhelmingly and became law in 2017, thereby obligating and creating a
                                   18   duty of the City to implement it in a manner to achieve its purposes.
                                   19
                                              5.     The City and its agents have breached their duty to its citizens,
                                   20

                                   21   including and specifically to the Lunns, and each plaintiff and the Lunns have
                                   22   suffered damages as a result, as described more fully below.
                                   23
                                                                 SECOND CLAIM FOR RELIEF
                                   24

                                   25                   (For Public Nuisance asserted by the Lunns only)
                                   26         20.    Plaintiffs re-allege and incorporate herein by this reference each and
                                   27
                                        every allegation set forth in paragraphs 1 through 19 of this Complaint as though
                                   28
                                                                               -7-
                                                                            COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 8 of 13 Page ID #:8



                                    1
                                        set forth fully herein.

                                    2          21.    California defines nuisance as:
                                    3
                                                      [a]nything which is injurious to health, including, but not
                                    4

                                    5                 limited to, the illegal sale of controlled substances, or is

                                    6                 indecent or offensive to the senses, or an obstruction to the
                                    7
                                                      free use of property, so as to interfere with the comfortable
                                    8

                                    9                 enjoyment of life or property, or unlawfully obstructs the

                                   10                 free passage or use, in the customary manner, of any
                                   11
                                                      navigable lake, or river, bay, stream, canal, or basin, or any
                                   12
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                                   13                 public park, square, street, or highway, is a nuisance.
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                                   14   Cal. Civ. Code § 3479.
                                   15
                                               22.    A nuisance cause of action is plainly aimed at protecting the public
                                   16

                                   17   from the hazards created by public nuisances. In addition to health and safety
                                   18   hazards, a reduction in property values caused by activities on a piece of land, and
                                   19
                                        an assault on the senses by noise, dust, and odors, are just the kinds of harm that
                                   20

                                   21   common lawsuits to abate a nuisance are designed to redress. A public nuisance is
                                   22   the substantial and unreasonable interference with a public right.
                                   23
                                               23.    As described above, the City, by its failure to maintain the public
                                   24

                                   25   property under its control, and to enforce the laws requiring the same, is
                                   26   perpetuating and facilitating nuisance violations.
                                   27

                                   28
                                                                                -8-
                                                                             COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 9 of 13 Page ID #:9



                                    1
                                               24.    Plaintiffs have experienced a substantial and unreasonable interference

                                    2   with the enjoyment of their property, whether that be a building owned or room
                                    3
                                        rented; each have suffered and continue to be threatened with respect to their health
                                    4

                                    5   and welfare, by reason of the constant threat of disease and the experience of

                                    6   human waste, trash, and encampments outside their property.
                                    7
                                               25.    Each plaintiff has been damaged in his or her own right, in a manner
                                    8

                                    9   especially injurious to him or herself. No plaintiff has consented to the City’s

                                   10   conduct.
                                   11
                                                                   THIRD CLAIM FOR RELIEF
                                   12
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                   13                   (For Private Nuisance asserted by the Lunns only)
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                                   14          26.    Plaintiffs re-allege and incorporate herein by this reference each and
                                   15
                                        every allegation set forth in paragraphs 1 through 19 of this Complaint as though
                                   16

                                   17   set forth fully herein.
                                   18          27.    The Lunns own a home within the City. The City’s actions, and
                                   19
                                        inactions, has created a condition or permitted a condition to exist that is harmful to
                                   20

                                   21   health, indecent and offensive to the senses, obstructs the free passage and use of
                                   22   public parks, squares, streets, highway, and sidewalks, permits unlawful sales of
                                   23
                                        illicit narcotics, and constitutes a fire hazard, as described supra.
                                   24

                                   25          28.    The City’s conduct has been and is intentional and unreasonable,
                                   26   unintentional but negligent or reckless, and/or the condition permitted to exist was
                                   27
                                        the result of abnormally dangerous activity which substantially interfered with each
                                   28
                                                                                -9-
                                                                             COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 10 of 13 Page ID #:10



                                    1
                                         plaintiff’s use or enjoyment of his or her land that an ordinary person would

                                    2    reasonably be annoyed or disturbed by. No plaintiff consented to the City’s
                                    3
                                         conduct.
                                    4

                                    5                              FOURTH CLAIM FOR RELIEF

                                    6                 (For Inverse Condemnation asserted by the Lunns only)
                                    7
                                                29.    Plaintiffs re-allege and incorporate herein by this reference each and
                                    8

                                    9    every allegation set forth in paragraphs 1 through 19 of this Complaint as though

                                   10    set forth fully herein.
                                   11
                                                30.    California Constitution, article I § 19 provides in relevant part:
                                   12
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                                   13    “Private property may be taken or damaged for a public use and only when just
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                                   14    compensation, ascertained by a jury unless waived, has first been paid to, or into
                                   15
                                         court for, the owner.” The actions by the City have limited, damaged, and/or
                                   16

                                   17    burdened the owners’ property so substantially that they rise to the level of a
                                   18    regulatory taking, yet no compensation has been provided.
                                   19
                                                                    FIFTH CLAIM FOR RELIEF
                                   20

                                   21             (For Violation of the First Amendment and Free Speech Rights
                                   22                                   Asserted by Green only)
                                   23
                                                31.    Plaintiffs re-allege and incorporate herein by this reference each and
                                   24

                                   25    every allegation set forth in paragraphs 1 through 19 of this Complaint as though
                                   26    set forth fully herein.
                                   27

                                   28
                                                                                 - 10 -
                                                                              COMPLAINT
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                                    1
                                                32.    Ms. Green has the right of free speech as guaranteed by the United

                                    2    States and California Constitutions. (U.S. Const., Amend. I; Cal. Const.Art I, § 2.)
                                    3
                                                33.    Ms. Green’s Container had the words: “Monument to Absurdity,
                                    4

                                    5    56:11” written on its side. This was a political protest regarding the City’s absurd

                                    6    and selective enforcement of Municipal Code section 56.11. Ms. Green is informed,
                                    7
                                         believes and thereon alleges that the removal of the Container was intended and did
                                    8

                                    9    in fact chill her expression of political speech pertaining to the City’s homeless

                                   10    policing practices. The RVs located adjacent to the location of the Container do not
                                   11
                                         contain political messages and have been left intact and undisturbed.
                                   12
609 Deep Valley Drive, Suite 200
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                                   13                               SIXTH CLAIM FOR RELIEF
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                                   14             (For Violation of the Due Process and Equal Protection Rights
                                   15
                                                                       Asserted by all Plaintiffs)
                                   16

                                   17           34.    Plaintiffs re-allege and incorporate herein by this reference each and
                                   18    every allegation set forth in paragraphs 1 through 19 of this Complaint as though
                                   19
                                         set forth fully herein.
                                   20

                                   21           35.    The City, by enforcing the law in some areas and declining to enforce
                                   22    the law in others, and by abdicating their duties under the law, have arbitrarily
                                   23
                                         determined where homeless encampments may or may not be located and what
                                   24

                                   25    communities should be affected, without following their own respective procedures
                                   26    and in violation of both state and federal law. This has placed a disproportionate
                                   27
                                         burden on Plaintiffs and other persons, communities, and businesses over others.
                                   28
                                                                                - 11 -
                                                                             COMPLAINT
                                   Case 2:21-cv-00872-DDP-PD Document 1 Filed 01/29/21 Page 12 of 13 Page ID #:12



                                    1
                                                36.    The City, by removing the Container, violated Ms. Green’s right to

                                    2    Due Process.
                                    3
                                                                   SEVENTH CLAIM FOR RELIEF
                                    4

                                    5                 (For Uncompensated Taking asserted by the Lunns only)

                                    6           37.    Plaintiffs re-allege and incorporate herein by this reference each and
                                    7
                                         every allegation set forth in paragraphs 1 through 19 of this Complaint as though
                                    8

                                    9    set forth fully herein.

                                   10           38.    The Fifth Amendment mandates, in relevant part, that “private
                                   11
                                         property [shall not] be taken for public use, without just compensation.” U.S.
                                   12
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                                   13    Const. amend. V. The Fifth Amendment is applied to the states through the
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                                   14    Fourteenth Amendment. The actions by the City, have limited, damaged, and/or
                                   15
                                         burdened the property owners’ so substantially that they rise to the level of a
                                   16

                                   17    regulatory taking, yet no compensation has been provided.
                                   18                                  PRAYER FOR RELIEF
                                   19
                                                Plaintiffs pray for judgment against Defendants as follows:
                                   20

                                   21           1.     Injunctive/equitable relief in a manner to be determined by law;
                                   22           2.     Compensatory damages and other special, general and consequential
                                   23
                                         damages according to proof;
                                   24

                                   25           3.     An award of costs of suit, including attorneys’ fees; and
                                   26           4.     Such other and further relief as this Court deems just and proper.
                                   27
                                         ///
                                   28
                                                                                - 12 -
                                                                             COMPLAINT
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                                    1
                                                                  DEMAND FOR JURY TRIAL

                                    2          Plaintiffs hereby demand a jury trial.
                                    3

                                    4
                                          DATED: January 29, 2021             JEFF LEWIS LAW
                                    5

                                    6
                                                                              By:             s/ Jeffrey Lewis
                                    7
                                                                                    Jeffrey Lewis
                                    8                                               Sean C. Rotstan
                                    9                                               Attorneys for Plaintiffs
                                                                                    PHILLIP LUNN, CHIE LUNN and
                                   10                                               DAVIN LAGARDE GREEN
                                   11

                                   12
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                                   13
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                                   14

                                   15

                                   16

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                                   28
                                                                               - 13 -
                                                                            COMPLAINT
